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                                                                                                                        Protecting Sexual and Gender Minorities in Academic Institutions With
                                                                                                                        Disallowing Policies: Psychological, Ethical, and Accreditation Concerns

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                                                                                                                                                   Sexual and gender minority (SGM) college students and employees receive important protections from
                                                                                                                                                   discrimination through various laws and accreditation standards from professional associations in the
                                                                                                                                                   United States. However, many SGM people attend or are employed at disallowing religious universities/
                                                                                                                                                   colleges (DRUs), which have restrictive disciplinary policies that prohibit expressions of nonhetero-
                                                                                                                                                   sexual, noncisgender identities. These SGM individuals receive little to no protections under the law, nor
                                                                                                                                                   from accreditors, due to various exemptions. Such policies and campus climates create unique risk factors
                                                                                                                                                   and challenges for SGM students who attend DRUs. This interdisciplinary article reviews the current
                                                                                                                                                   psychological research on SGM college student health and campus climate at DRUs, ethical standards
                                                                                                                                                   that pertain to diversity and higher education for psychologists and counselors, and standards of
                                                                                                                                                   accreditation from the authors’ respective professional accreditors, the American Psychological Associ-
                                                                                                                                                   ation and the Council for Accreditation of Counseling and Related Educational Programs. Further, the
                                                                                                                                                   authors provide a basic overview of legal and public policy actions that address protections for SGM
                                                                                                                                                   college students who attend DRUs. We then offer systemic recommendations to improve the safety and
                                                                                                                                                   well-being of SGM people at DRUs through changing campus policies and stronger oversight from
                                                                                                                                                   accrediting bodies and the United States government, while also safeguarding religious freedom and
                                                                                                                                                   diversity.


                                                                                                                                                     Public Significance Statement
                                                                                                                                                     This article may impact accreditation standards, and enforcement thereof, related to diversity in
                                                                                                                                                     psychology and counselor education programs accredited by the American Psychological Associa-
                                                                                                                                                     tion and the Council for Accreditation of Counseling and Related Educational Programs. This article
                                                                                                                                                     also provides recommendations for the U.S. Department of Education.


                                                                                                                                                   Keywords: sexual minority, transgender, religion, higher education, accreditation




                                                                                                                        This article was published Online First July 25, 2019.                              intersection with counselor training, professional ethics and standards
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                                                                                                                     Institute at Northwestern University and serves as the co-chair of the                    LANCE C. SMITH, PhD, is an Associate Professor and the coordinator
                                                                                                                     APA Division 44 (Society for the Psychology of Sexual Orientation &                    of the Graduate Program in Counseling at the University of Vermont.
                                                                                                                     Gender Diversity) Education & Training Committee. He received his                      He received his doctorate in Counselor Education and Supervision at
                                                                                                                     doctorate from Biola University and completed an APA Congressional                     Syracuse University. His research agenda has included surfacing racist
                                                                                                                     Fellowship in the United States Senate Health, Education, Labor, and                   and heterosexist implicit bias within the fields of mental health, devel-
                                                                                                                     Pensions (HELP) Committee. His professional work includes multiple                     oping psychometrically sound instruments to measure critical con-
                                                                                                                     collaborations with the U.S. Department of Health & Human Services                     sciousness, and examining the heteronormative “blindfold” of benefi-
                                                                                                                     (HHS) to reduce health disparities for LGBTQ⫹ Americans under the                      cent counselors.
                                                                                                                     Obama Administration.                                                                     PAUL J. CARLOS SOUTHWICK, JD, is an attorney in the litigation depart-
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                                                                                                                     ment of Leadership and Developmental Sciences at the University of                     degree from the University of Michigan Law School. His research and
                                                                                                                     Vermont. She received her doctorate in Counselor Education and Su-                     professional interests include constitutional issues relating to the free
                                                                                                                     pervision from Idaho State University. Her research primarily focuses                  exercise rights of religiously affiliated organizations and policy issues
                                                                                                                     on the advancement of proficiencies in the practice of group psycho-                   impacting the rights and welfare of sexual and gender minorities who
                                                                                                                     therapy and clinical supervision with diverse populations. Her scholar-                attend religiously affiliated colleges and universities.
                                                                                                                     ship also examines models of clinical supervision and the development                     CORRESPONDENCE CONCERNING THIS ARTICLE should be addressed to
                                                                                                                     of core supervision intervention proficiencies across various domains of               Joshua R. Wolff, The Family Institute, Northwestern University, Chi-
                                                                                                                     clinical practice. Associated aspects of this scholarship foci are its                 cago, IL 60603. E-mail: jwolff@family-institute.org

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                                                                                                                        There are likely many reasons why faith-based higher education             SGM students who attend DRUs (California State Legislature,
                                                                                                                     could appeal to sexual and gender minority (SGM) college stu-                 2016; DoE, 2016). For example, Title IX is a federal statute
                                                                                                                     dents or employees, which include those who are lesbian, gay,                 prohibiting sex discrimination by educational institutions that re-
                                                                                                                     bisexual, transgender, queer/questioning (LGBTQ), or same-sex                 ceive federal funding. During the Obama-era, DoE began publish-
                                                                                                                     attracted (Yarhouse, Stratton, Dean, & Brooke, 2009). These rea-              ing Title IX exemption letters, which have been submitted by
                                                                                                                     sons may be complex. For example, Biaggio (2014, p. 94) noted                 DRUs to immunize themselves from compliance with DoE’s for-
                                                                                                                     the following:                                                                mer interpretation that Title IX protects transgender students from
                                                                                                                                                                                                   discrimination. Many DRUs sought exemptions related to sexual
                                                                                                                           Perhaps [SGM students and employees] embrace the institution’s          orientation as well as gender identity to safeguard, among other
                                                                                                                           religion and want to obtain or provide an education within this
                                                                                                                                                                                                   things, their code of conduct policies and hiring and admission
                                                                                                                           perspective, maybe they wish to actively suppress or change perceived
                                                                                                                           homosexual tendencies in view of their religion, or perhaps when they
                                                                                                                                                                                                   practices that are grounded in disaffirming religious doctrine.
                                                                                                                           entered they did not have such tendencies.                              However, in February of 2017, the Trump Administration with-
                                                                                                                                                                                                   drew the previous Obama-era guidance on protections for trans-
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                                                                                                                     SGM people may also wish to obtain training in the integration of             gender students under Title IX (Green, 2017). Further, DoE (2018)
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                                                                                                                     religion, spirituality, and models of clinical care. Regardless, SGM          recently updated its website to state that “an institution’s [Title IX]
                                                                                                                     students, faculty, and staff may face unique challenges and possi-            exempt status is not dependent upon its submission of a written
                                                                                                                     ble risks in the college environment when they attend disallowing             statement to [the DoE].”
                                                                                                                     religious universities/colleges (DRUs), which include Evangelical                At the U.S. state level, California introduced legislation, which,
                                                                                                                     Christian, some Roman Catholic, and Church of Latter-Day Saints               in its original form, would have barred all colleges and universities
                                                                                                                     (Mormon) institutions. DRUs condemn and/or prohibit LGBTQ                     that discriminate based on sexual orientation and gender identity
                                                                                                                     identities and expression through policies such as (but not limited           from receiving state funds. However, this part of the legislation
                                                                                                                     to) barring admission of SGM students, prohibiting same-sex                   was ultimately defeated due to strong opposition from DRUs
                                                                                                                     romantic expression or gender nonbinary identities, prohibiting               (McGreevy, 2016). Given the controversial nature of this topic,
                                                                                                                     gender affirming medical procedures, requiring counseling for                 along with the inherent challenges of placing limits on religious
                                                                                                                     SGM students, and/or prohibiting/limiting student organizations               expressions, this is likely to be only the beginning of future judicial
                                                                                                                     that affirm SGM identities (McEntarfer, 2011; Smith & Okech,                  and legislative disputes in ongoing efforts to advance protections
                                                                                                                     2016a; Wolff & Himes, 2010). Failure to comply with these                     for SGM students in the U.S. education system.
                                                                                                                     standards may lead to dismissal, termination, or other conse-                    Setting an important legal precedent, the Supreme Court of
                                                                                                                     quences. DRUs share a common thread in explicitly teaching that               Canada (2018) recently upheld the decision of two law societies,
                                                                                                                     LGBTQ identities and expressions are sinful (i.e., immoral, disor-            which regulate the legal profession in Canada, to deny accredita-
                                                                                                                     dered) based on Christian tenets (see the appendix of Smith &                 tion to a law school proposed by Trinity Western University
                                                                                                                     Okech, 2016a). Hence, DRUs inherently reject scientific perspec-              (TWU), a DRU. The law societies denied accreditation because
                                                                                                                     tives which normalize sexual and gender diversity (Biaggio, 2014).            TWU’s code of conduct policy prohibits sexual expression be-
                                                                                                                        Recent media coverage has highlighted negative experiences of              tween same-sex partners, even when such conduct occurs off
                                                                                                                     some SGM students and employees who attend or are employed at                 campus and within a legal same-sex marriage. The law societies
                                                                                                                     DRUs in the United States, with most coverage focused on Evan-                determined that such a policy would have the effect of denying
                                                                                                                     gelical Christian universities (Wheeler, 2016). Such reports docu-            equal access to the legal profession, diminishing diversity within
                                                                                                                     ment SGM individuals being dismissed due to their sexual orien-               the bar, and causing harm to LGBTQ law students. The Supreme
                                                                                                                     tation or gender identity, transgender students being barred from             Court of Canada agreed and concluded that “The reality is that
                                                                                                                     housing that aligns with their gender identity, and hostile environ-          most LGBTQ individuals will be deterred from attending TWU’s
                                                                                                                     ments toward allies (Cruz, 2015; Hunt & Pérez-Peña, 2014; Rokos,              proposed law school, and those who do attend will be at the risk of
                                                                                                                     2014).                                                                        significant harm” (see paragraph 39 of Supreme Court of Canada,
                                                                                                                        Situations that involve conflict between institutional religious           2018).
                                                                                                                     beliefs and nondiscrimination policies present difficult clinical,
                                                                                                                     ethical, and legal tensions for DRUs, as well as the associations               Psychological Risk-Factors for SGM Students Who
                                                                                                                     and governing bodies which accredit them. As such, the purpose of
                                                                                                                                                                                                                       Attend DRUs
                                                                                                                     this interdisciplinary review is to critically synthesize legislative
                                                                                                                     policies, research, professional ethical standards, and current ac-              Several recent studies suggest that SGM students who attend
                                                                                                                     creditation standards from health-service psychology and clinical             DRUs face multiple risk factors, some of which may be unique or
                                                                                                                     mental health counseling in the hope that future accreditation                more pronounced at DRUs than other colleges. Among sexual
                                                                                                                     policies and regulatory actions will be grounded in sound available           minority (SM; e.g., lesbian, gay, bisexual) DRU students, Wolff,
                                                                                                                     data, ethical principles, and professional guidelines.                        Himes, Soares, and Miller Kwon (2016) found that more than one
                                                                                                                                                                                                   third (37%) reported being bullied or harassed at school because of
                                                                                                                                                                                                   their sexual orientation. This number is almost twice the national
                                                                                                                                Legislative and Public Policy Overview
                                                                                                                                                                                                   average (23%) for SGM college students found by Rankin, Weber,
                                                                                                                        The aforementioned media reports, in combination with student              Blumenfeld, and Frazer (2010). SM students who reported being
                                                                                                                     and organizational activism, generated legislation in the state of            bullied because of their sexual orientation were more likely to also
                                                                                                                     California as well as actions taken by the U.S. Department                    report symptoms of depression (Wolff et al., 2016). Another study
                                                                                                                     of Education (DoE) in 2015 due to concerns about the welfare of               at a Roman Catholic university found that half of SGM undergrad-




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                                                                                                                     uate students reported being harassed or bullied on campus, and           orative (i.e., finding common ground with school administrators);
                                                                                                                     that up to 16% experienced violence (Lockhart, 2013). However,            (2) conciliatory (i.e., accepting restrictions of what can be done);
                                                                                                                     students rarely reported these incidents due to fears of not being        (3) assertive (e.g., public, nonviolent protests and rejection of
                                                                                                                     taken seriously, being treated with disrespect, outing themselves in      campus policies); and (4) underground/subversive (i.e., promoting
                                                                                                                     an unsupportive environment, and worsening the situation (Lock-           change and advocacy via nonidentified students). Regardless of
                                                                                                                     hart, 2013). Another study of 104 SM students suggests that DRU           approach, these students and allied faculty made diversity a core
                                                                                                                     campus climates are perceived as largely negative toward LGBTQ            focus of their advocacy, which required significant time, energy,
                                                                                                                     issues, with most derogatory remarks toward SM persons coming             and stress. In fact, several students who were heavily involved in
                                                                                                                     from other students, not from faculty or staff (Yarhouse et al.,          GSA formation did not complete their degrees at these institutions.
                                                                                                                     2009). However, recent data suggest that some DRU faculty make            Though some DRU faculty and staff were visibly supportive of
                                                                                                                     derogatory remarks and jokes about SGM individuals in classes or          SGM students in McEntarfer’s study, other research portrays sit-
                                                                                                                     are silent when derogatory remarks occur (Craig, Austin, Rashidi,         uations in which affirming employees are much less visible due to
                                                                                                                     & Adams, 2017).                                                           fears of job loss and other repercussions (Getz & Kirkley, 2006).
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                                                                                                                        SGM students attending DRUs may experience unique chal-                   Extremely limited data exist on the experiences of gender mi-
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                                                                                                                     lenges and risks related to identity disclosure and development.          nority (GM; e.g., transgender, nonbinary) students who attend
                                                                                                                     For example, studies show that SM students at DRUs overwhelm-             DRUs. However, Wolff et al. (2017) found four major themes
                                                                                                                     ingly publicly identify as heterosexual (Stratton, Dean, Yarhouse,        among GM students attending DRUs, including (1) invisibility of
                                                                                                                     & Lastoria, 2013) and conceal their identities due to a pervasive         GM identities on campus, (2) interpersonal rejection due to GM
                                                                                                                     “culture of fear” and various safety concerns, which are linked to        expression and identity, (3) ongoing tension and ambivalence
                                                                                                                     depression and suicide attempts (Craig et al., 2017, p. 9; Lockhart,      related to GM students’ religious beliefs and gender identities, and
                                                                                                                     2013).                                                                    (4) resilience among GM students found through support systems.
                                                                                                                        Recent studies show evidence of inadequate and harmful mental          Specific examples included difficulty finding information about
                                                                                                                     health services being provided to SGM students who attend DRUs.           transgender issues on campus, a general sense of “don’t ask, don’t
                                                                                                                     Two studies, one by Craig and colleagues (2017) and the other by          tell” around transgender issues; gender-based bullying and harass-
                                                                                                                     Wolff et al. (2016) found that SM students reported that a mental         ment on campus; leaving one’s religious community to find an
                                                                                                                     health professional had attempted to change their sexual orienta-         affirming alternative; and finding affirming faculty, mental health,
                                                                                                                     tion (i.e., conversion therapy), which is widely condemned by             and medical resources on campus or nearby.
                                                                                                                     professional associations (e.g., American Counseling Association             This small, but growing, body of research suggests wide vari-
                                                                                                                     [ACA], 2013; APA, 2009). Other students who received campus               ation in SGM student experiences, mental health, and overall
                                                                                                                     counseling at DRUs reported that they had been misdiagnosed               perceptions within DRUs. As such, sweeping assumptions cannot
                                                                                                                     with psychiatric illnesses (e.g., eating disorders) because of under-     be made about SGM student experiences at DRUs. However, when
                                                                                                                     lying gender dysphoria (Wolff, Stueland Kay, Himes, & Alquijay,
                                                                                                                                                                                               taken overall, the literature summarized above raises substantial
                                                                                                                     2017). Several participants also raised concerns about inadequate
                                                                                                                                                                                               concerns related to mental health risk-factors (e.g., depression,
                                                                                                                     training for DRU staff on SGM issues. Of note, stigma, potential
                                                                                                                                                                                               suicide), potentially unethical and unsupported mental health prac-
                                                                                                                     disciplinary action, and lack of provider competency may also
                                                                                                                                                                                               tices such as “conversion therapy,” lack of campus resources,
                                                                                                                     partially explain low utilization rates of campus services among
                                                                                                                                                                                               barriers to forming social support groups (e.g., GSAs), and bully-
                                                                                                                     SGM students. For example, in one study only 14% of SM stu-
                                                                                                                                                                                               ing/harassment of SGM students who attend DRUs.
                                                                                                                     dents sought counseling services at their DRU, despite recognition
                                                                                                                     of services (Yarhouse et al., 2009).
                                                                                                                        Little research exists on how denominational types of DRU may                         Ethical and Professional Issues
                                                                                                                     influence SGM student experiences. However, Wolff et al.’s
                                                                                                                     (2016) study found a link between more disallowing Christian                 Faculty affiliated with counselor education and psychology de-
                                                                                                                     denominations and the degree of difficulty SM students have with          partments are compelled to adhere to the ACA (2014) Code of
                                                                                                                     integrating their sexual orientation and religious beliefs. Hence,        Ethics and American Psychological Association (APA) Ethical
                                                                                                                     SM students who attended Mormon, Evangelical, and nondenom-               Principles of Psychologists and Code of Conduct (2010), respec-
                                                                                                                     inational Christian DRUs had significantly more difficultly com-          tively. Both codes promote client and student welfare and safety,
                                                                                                                     ing to terms with their sexual orientation than those in Catholic or      and avoidance of doing harm, as paramount (ACA, 2014, Part
                                                                                                                     Mainline Protestant (e.g., Lutheran) universities.                        A.1.a; APA, 2010, Preamble, p. 3). Further, they address issues of
                                                                                                                        Research also indicates that institutional policies and campus         discrimination based on diversity factors, including those related to
                                                                                                                     climates at DRUs may create difficulties for students in forming          sexual orientation and gender identity (e.g., see APA, 2010, Part
                                                                                                                     LGBTQ-affirming spaces. Wolff et al. (2016) found that less than          3.01), hold practitioners and educators to the same standards, and
                                                                                                                     half of SM students at DRUs were involved with an affirming               articulate that professionals adhering to the aforementioned codes
                                                                                                                     campus organization, such as a Gender and Sexuality Alliance              will maintain an awareness of their personal values and beliefs and
                                                                                                                     (GSA). Yet those students who were involved with a GSA had                the potential discriminatory nature of such values and beliefs (see
                                                                                                                     significantly less difficultly with resolving their sexual orientation,   ACA, 2014, Part A.4.B.). To this effect, APA (2010) mandates that
                                                                                                                     less negative sexual identities, and less religious incongruence          “[p]sychologists try to eliminate the effect biases based on those
                                                                                                                     (tension between one’s faith and sexual orientation) than those           factors have on their work, and that they do not knowingly par-
                                                                                                                     students not involved. McEntarfer (2011) found that SGM students          ticipate in or condone activities of others based upon such preju-
                                                                                                                     used four major strategies to create GSA’s at DRUs: (1) collab-           dices” (Principle E, p. 4).




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                                                                                                                        The ACA and APA standards cover pedagogical, clinical, and                  Moreover, both mandate standards that if applied with fidelity,
                                                                                                                     administrative policies and practices. Furthermore, both codes                 would leave little room for disallowing policies. In reference to the
                                                                                                                     hold their professionals responsible for gaining competence in                 ethical standards mentioned earlier, CACREP (2016) standards
                                                                                                                     areas that impact the populations that they serve and recommend                require faculty within accredited programs to evaluate counselors
                                                                                                                     consultation and supervision as they gain additional experience                in training in a manner that is “consistent with . . . ACA Code of
                                                                                                                     with marginalized populations (ACA, 2014; APA, 2010). This                     Ethics” (p. 5), whereas APA standards state that “all policies and
                                                                                                                     standard is critical, given research findings related to attempts at           procedures used by the program must be consistent with the
                                                                                                                     sexual orientation change efforts (Craig et al., 2017; Wolff et al.,           profession’s current ethics code” (APA, 2016, p. 11). CACREP
                                                                                                                     2016) and inaccurate diagnoses with SGM students (Wolff et al.,                (2016) also requires counselors to be trained “in eliminating bi-
                                                                                                                     2017) by mental health professionals. Both findings suggest some               ases, prejudices, and processes of intentional and unintentional
                                                                                                                     professionals at DRUs may lack competence in addressing SGM-                   oppression and discrimination” (see Sec II, 2f, p. 9). Both accred-
                                                                                                                     related concerns.                                                              iting bodies call for systematic efforts to recruit and retain faculty,
                                                                                                                        Within the ACA and APA codes, both recognize students as                    staff and students from diverse backgrounds, including SGM back-
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                                                                                                                     potentially vulnerable populations, particularly during supervision            grounds (APA, 2016, p. 31; CACREP, 2016, p. 6).
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                                                                                                                     and during self-reflection aspects of clinical training which may                 Although CACREP (2016) standards do not explicitly address
                                                                                                                     require self-disclosure. The ACA code highlights an expectation                the conflicts between DRUs and SGM students, they do so indi-
                                                                                                                     that, “Counselor educators actively infuse multicultural/diversity             rectly by calling on counseling programs to challenge “institu-
                                                                                                                     competency in their training and supervision practices. They ac-               tional and societal barriers that impede access, equity and success
                                                                                                                     tively train students to gain awareness, knowledge, and skills in the          for clients” (p. 8). APA accredited programs are “to ensure a
                                                                                                                     competencies of multicultural practice” (F.11.C). APA Standard                 supportive and encouraging learning environment” for diverse
                                                                                                                     2.01(e) states that                                                            students and faculty and to avoid “restricting access . . . either
                                                                                                                                                                                                    directly or by imposing significant and disproportionate burdens
                                                                                                                           [p]sychologists respect the dignity and worth of all people, and the     on the basis of personal and demographic characteristics set forth
                                                                                                                           rights of individuals to privacy, confidentiality, and self-determina-
                                                                                                                                                                                                    in the definition of cultural diversity” (APA Standards, 2016, p. 9).
                                                                                                                           tion. Psychologists are aware that special safeguards may be necessary
                                                                                                                           to protect the rights and welfare of persons or communities whose
                                                                                                                                                                                                    The APA Standards (2016) go further to state the following:
                                                                                                                           vulnerabilities impair autonomous decision making (https://www               This requirement does not exclude programs from having a religious
                                                                                                                           .apa.org/ethics/code/index).                                                 affiliation or purpose and adopting and applying admission and em-
                                                                                                                                                                                                        ployment policies that directly relate to this affiliation or purpose, so
                                                                                                                     Hence, this standard protects SGM students against coercion to
                                                                                                                                                                                                        long as public notice of these policies has been made to applicants,
                                                                                                                     share personal information regarding aversive personal experi-                     students, faculty, and staff. . . . These policies may provide a prefer-
                                                                                                                     ences or stigmatized identities, thus further emphasizing boundar-                 ence for persons adhering to the religious purpose or affiliation of the
                                                                                                                     ies of competence in DRU environments.                                             program, but they shall not be used to preclude the admission, hiring,
                                                                                                                        In sum, the responsibility to recognize, respect, and protect                   or retention of individuals because of the personal and demographic
                                                                                                                     SGM people in environments that have disallowing policies is                       characteristics set forth under the definition of cultural diversity. (p. 9)
                                                                                                                     clearly embedded in both ACA and APA professional ethical
                                                                                                                     codes. Counselor educators, counselors, and psychologists who                  Hence, neither counseling nor psychology accreditation standards
                                                                                                                     adhere to their professional codes and standards of practice, there-           grant training programs housed in DRUs the freedom to exclude
                                                                                                                     fore, have an obligation to advocate for the safety and equity of              SGM identity and expressions from their definition of cultural
                                                                                                                     students who identify as SGMs, particularly in DRUs where those                diversity. Faculty within these programs are not exempted from
                                                                                                                     rights are very limited and SGM students and employees are                     addressing social injustices and inequities that impede access and
                                                                                                                     explicitly marginalized by various policies.                                   equity for persons who identify as SGM. Despite these standards,
                                                                                                                                                                                                    APA and CACREP have accredited programs that are housed in
                                                                                                                                                                                                    DRUs which have taken wide latitudes to impede access and
                                                                                                                                           Accreditation Standards                                  equity for SGM students on the grounds of religious liberty (for a
                                                                                                                        Numerous counseling and psychology graduate training pro-                   review of CACREP accredited programs, see Smith & Okech,
                                                                                                                     grams that are housed in DRUs have received accreditation by                   2016a; Smith & Okech, 2016b; for APA accredited programs, see
                                                                                                                     their respective professional accrediting bodies. The Council for              Biaggio, 2014). Further, codes of conduct which attach disciplin-
                                                                                                                     Accreditation of Counseling and Related Educational Programs                   ary consequences to SGM students, based solely on the student’s
                                                                                                                     (CACREP) accredits masters and doctoral counseling programs.                   sexual or gender identity, would appear inconsistent with the APA
                                                                                                                     Health service psychology programs are accredited by the APA                   accreditation policy that programs not use religion to “preclude
                                                                                                                     Commission on Accreditation (CoA). Both accrediting bodies are                 retention” of diverse students (APA, 2016, p. 9).
                                                                                                                     charged with setting and monitoring precise standards for promot-
                                                                                                                     ing consistent quality training across their accredited programs—                  Recommendations for Protecting SGM People at
                                                                                                                     including programs housed within DRUs.
                                                                                                                                                                                                                           DRUs
                                                                                                                        APA’s Standards of Accreditation for Health Services Psychol-
                                                                                                                     ogy and CACREP’s 2016 Standards have clear guidelines regard-                     In the spirit of protecting SGM students, improving campus
                                                                                                                     ing ethical practice, issues of diversity, and multicultural compe-            safety, building stronger campus communities, and respecting re-
                                                                                                                     tence. Both accreditation bodies define cultural diversity as                  ligious diversity and freedom, we propose several recommenda-
                                                                                                                     including, but not limited to sexual orientation and gender identity.          tions below for APA and CACREP accredited programs and the




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                                                                                                                     U.S. Department of Education (DoE). The recommendations are             disclose same-sex attraction until they are 18 and one half years
                                                                                                                     derived from the integration of the research, accreditation policies,   old, on average (i.e., during their freshman year of college).
                                                                                                                     professional ethical codes and standards, and law/policy described      Therefore, it is reasonable to deduce that many SGM employees
                                                                                                                     earlier, with a core understanding that these exist to protect vul-     and students may have signed such statements of faith while still
                                                                                                                     nerable populations, such as SGM people.                                unsure of their sexual or gender identity, or perhaps very early in
                                                                                                                                                                                             their coming out process. For such individuals, embracing an
                                                                                                                     Recommendation 1: Prohibit Accredited Programs                          identity after they have already begun a degree program within
                                                                                                                     From Linking Sexual and Gender Minority Identities                      DRUs carries the burden of potential loss of course credit, tuition
                                                                                                                                                                                             deposits and the duress of relocating to another program. For these
                                                                                                                     to Disciplinary Consequences
                                                                                                                                                                                             reasons, disciplinary actions targeted toward SGM students fail to
                                                                                                                        The emerging (but steady) body of research, in combination           take personal development into consideration. Thus, for DRUs to
                                                                                                                     with anecdotal media coverage, make clear that SGM students who         use preadmission informed consent to defend disciplinary policies
                                                                                                                     attend DRUs may have unique risk factors for bullying, victim-          toward SGM students is an unscientific and deeply flawed argu-
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                                                                                                                     ization, mental health problems, and exposure to harm. Further, a       ment.
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                                                                                                                     recent flurry of legal actions at the state and national level have
                                                                                                                     arisen to promote and protect the safety of SGM students who            Recommendation 2: Ensure That Nondiscrimination
                                                                                                                     attend DRUs, suggesting that the time for formal oversight has          and Antiharassment/Violence Policies Include Sexual
                                                                                                                     arrived. We support DRUs in their rights to maintain their own          Orientation and Gender Identity
                                                                                                                     distinctive religious belief systems and traditions and note that
                                                                                                                     accreditors must not violate their own professional standards with         Regardless of theological doctrine on SGM identities/expres-
                                                                                                                     respect to religious diversity (Smith & Okech, 2016b). However,         sions, we believe there is substantial room for common ground in
                                                                                                                     we believe it is unethical for DRU programs to force students and       eliminating bullying or harassment of SGM students. As such, we
                                                                                                                     employees to adhere to behavioral codes which uniquely single-          call upon all DRUs accredited by APA and CACREP to explicitly
                                                                                                                     out and link SGM identities, including behaviors related to SGM         add language to their nondiscrimination and antiharassment poli-
                                                                                                                     identities, to disciplinary consequences. Such policies disregard       cies which includes gender identity and sexual orientation. Adding
                                                                                                                     the widely accepted scientific and ethical standards established by     this language to existing policies sends a visible message that
                                                                                                                     the APA and ACA. Moreover, SGM students are already a highly            bullying of SGM students will not be tolerated. Of note, some
                                                                                                                     marginalized, at-risk population, therefore such policies likely        DRUs which prohibit SGM expression have in fact added this
                                                                                                                     threaten their safety and psychological well-being, a hypothesis        language to their antidiscrimination policies (e.g., George Fox
                                                                                                                     tentatively supported by the studies cited above. Therefore, DRUs       University, n.d.), which is a reasonable and positive step in creat-
                                                                                                                     which maintain disciplinary policies that marginalize SGM people        ing safer campus environments while holding religious convic-
                                                                                                                     and place them at-risk should be held accountable by losing             tions. Further, DRUs should notify students about nondiscrimina-
                                                                                                                     accreditation. Along with prohibiting these policies, accreditors       tion and antiharassment policies, where to report complaints,
                                                                                                                     should enforce existing standards that protect SGM students from        where to receive medical and psychological support, and protect
                                                                                                                     being forced to disclose their identities (APA, 2010; ACA, 2014).       SGM individuals who make reports from retaliation. Moreover,
                                                                                                                        Some may counter that this process would unfairly single out         DRUs should provide and publicize protections for SGM students
                                                                                                                     faith-based programs based on their beliefs. However, for accred-       who disclose their SGM identity, even if it violates the code of
                                                                                                                     itation to be fair and consistent, all programs (regardless of reli-    conduct, when reporting acts of sexual/gender violence or harass-
                                                                                                                     gious affiliation) should be held to the same basic nondiscrimina-      ment. This would remove barriers to reporting harassment and
                                                                                                                     tion and student safety standards. In the same vein, it equalizes       sexual violence for SGM students who are victimized.
                                                                                                                     codes of conduct for all students without targeting SGM students
                                                                                                                                                                                             Recommendation 3: Improve Transparency
                                                                                                                     (e.g., if sexual relations before marriage are prohibited, why spec-
                                                                                                                     ify the gender of the sexual partners?). We also note that many            We applaud the previous Obama-era DoE for publicizing the
                                                                                                                     Roman Catholic programs still maintain a unique religious identity      requests of DRUs wanting to discriminate against SGM students
                                                                                                                     without resorting to disciplinary consequences targeted at SGM          via Title IX exemption (DoE, 2016). Moreover, DoE should re-
                                                                                                                     students.                                                               quire formal exemption request letters from DRUs and remove the
                                                                                                                        DRUs may argue that policies that disallow SGM identities are        guidance on its website that states otherwise (DoE, 2018). Though
                                                                                                                     permissible since most of these institutions require students and       DRUs may be within their statutory rights to request and be
                                                                                                                     faculty to sign a statement of faith and/or a behavioral conduct        granted such exemptions, DoE should provide greater transparency
                                                                                                                     agreement prior to matriculation (Sells & Hagedorn, 2016). How-         regarding both the actual requests and how the exemptions are
                                                                                                                     ever, exploring and accepting one’s sexual and or gender identity       granted. Further, it may help prospective students when selecting
                                                                                                                     is a developmental process long supported by the extant literature      a college or university that is the right “fit” for them considering
                                                                                                                     (Bockting & Coleman, 2007). In other words, many SGMs in late           their values, gender identity, and/or sexual orientation. Similarly,
                                                                                                                     adolescence through early adulthood have yet to develop the skills      we call upon the APA CoA and CACREP to follow the DoE’s lead
                                                                                                                     and knowledge necessary to own and voice their historically             and publish searchable public lists of accredited programs that
                                                                                                                     marginalized identities. Indeed, a recent study suggests that among     have requested exemptions from diversity, admission, hiring, and
                                                                                                                     highly religious SM men, coming out occurs later in life (Hoffarth      retention standards related to SGM identities. Further, concerns
                                                                                                                     & Bogaert, 2017). Further, Yarhouse and colleagues (2009) found         raised by CACREP or the APA CoA about any program’s diver-
                                                                                                                     that among Evangelical SMs who attend DRUs, they do not                 sity during programmatic reviews should be made public.




                                                                                                                           EXHIBIT F                                                                                                                    5
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                                                                                                                     Recommendation 4: Ensure Access to Culturally                          interpret this language to be a strong endorsement of the impor-
                                                                                                                     Competent Medical and Psychological Services                           tance of dialogue on campus which examines different viewpoints,
                                                                                                                                                                                            a critical function of any academic institution. Policies which
                                                                                                                        Medical and behavioral health providers that work for DRUs          attach disciplinary consequences (e.g., employment termination) to
                                                                                                                     must be equipped to deliver clinical services which can address the    faculty/staff who develop affirming views of SGM identities
                                                                                                                     complex intersection of gender, sexual orientation, and religion/      clearly violate such accreditation requirements and therefore war-
                                                                                                                     spirituality for SGM students. This is not so easy a task and
                                                                                                                                                                                            rant oversight from accreditors.
                                                                                                                     warrants significant institutional investment into training opportu-
                                                                                                                     nities for staff. At DRUs that do not provide these services on-
                                                                                                                     campus, careful attention must be paid to the qualifications of        Recommendation 7: Allow SGM Students to Organize
                                                                                                                     providers to whom students are referred. DRUs should implement         Social Support Networks Without Retaliation
                                                                                                                     screenings to ensure provider competence in working with SGM
                                                                                                                     individuals and adherence to established professional guidelines.         GSAs can provide many potential benefits for SGM students
                                                                                                                                                                                            who attend DRUs, including assistance for working through iden-
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                                                                                                                     We raise this concern in light of Wolff and colleagues (2016)
                                                                                                                                                                                            tity concerns, social support, decreased negative identities, and
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                                                                                                                     finding that a sizable portion of SGM students who attended DRUs
                                                                                                                     had experienced attempted sexual orientation change by a profes-       decreased religious incongruence (Lockhart, 2013; Wolff et al.,
                                                                                                                     sional. Further, Wolff et al. (2017) noted the importance of allow-    2016). Moreover, research indicates that GSA’s can provide re-
                                                                                                                     ing transgender students access to medical providers who are           sources to decrease bullying/harassment, improve perceptions of
                                                                                                                     knowledgeable about transition and other unique medical needs.         campus safety and belonging, educate via campus outreach, im-
                                                                                                                                                                                            prove GPA’s, and act as a protective factor against depression and
                                                                                                                     Recommendation 5: APA and ACA Should Develop                           substance abuse for SGM students (Heck et al., 2014; Ioverno,
                                                                                                                                                                                            Belser, Baiocco, Grossman, & Russell, 2016; Poteat, Sinclair,
                                                                                                                     Resources to Assist SGM Students Who Attend DRUs
                                                                                                                                                                                            DiGiovanni, Koenig, & Russell, 2013; Seelman, Forge, Walls, &
                                                                                                                        We believe that psychology and counseling should also strive to     Bridges, 2015). Of note, the impact of a GSA may not be imme-
                                                                                                                     promote research and develop resources for DRUs wishing to             diate, and, as such, DRUs should strive to make a sustained
                                                                                                                     maintain their religious identities while also adhering to profes-     commitment to GSAs (Ioverno et al., 2016).
                                                                                                                     sional standards. We call upon ACA, APA, and CACREP to fund               Past research indicates that SM students who attend DRUs may
                                                                                                                     research and to develop task forces which produce formal guide-        not identify with labels such as gay or lesbian (Yarhouse et al.,
                                                                                                                     lines to protect SGM people who attend/work at DRUs. Such              2009). As such, the phrase “GSA” may not work well for groups
                                                                                                                     guidelines should include how to address SGM diversity in course       at some DRUs. Further, the structure of each group would need to
                                                                                                                     curriculum, establish appropriate housing for gender minorities,       be modified depending on the nature of the institution at a DRU.
                                                                                                                     reduce bullying/harassment, and perform self-studies to assess         For example, some groups may be focused more on questioning
                                                                                                                     their program climate regarding SGM concerns. Such guidance            individuals, rather than students who have resolved identity con-
                                                                                                                     could be of great benefit to the programs which these associations     cerns. Though exact names and structure may vary, it is of utmost
                                                                                                                     accredit or assist, though these may be limited in scope to the        importance that SGM students be allowed to form such groups,
                                                                                                                     specific programs or departments. Hence, we hope a broader, more       and that disclosures in such groups not be used against them.
                                                                                                                     comprehensive list of resources could be created by DoE and made       DRUs should not subject such groups to additional monitoring,
                                                                                                                     widely available. Finally, we call upon the APA and ACA to set up      beyond what is required of other campus groups. Further, faculty/
                                                                                                                     and publicize confidential SGM related consultation resources
                                                                                                                                                                                            staff advisors of such groups must be adequately trained in SGM
                                                                                                                     (e.g., phone number) for students in accredited programs.
                                                                                                                                                                                            issues and respect the privacy of all members by not disclosing
                                                                                                                                                                                            membership lists nor what is revealed in meetings, unless required
                                                                                                                     Recommendation 6: Protect and Promote Full                             by law (e.g., if a student is at-risk for self-harm).
                                                                                                                     Academic Freedom
                                                                                                                        Faculty, students, and staff should not be penalized for holding                               Conclusion
                                                                                                                     open dialogue in an academic environment, especially when the
                                                                                                                     views espoused may be contrary to that of the institution. We raise       Faith-based higher education has undoubtedly enriched the lives
                                                                                                                     this concern considering research and anecdotal reports suggesting     of many individuals who have been educated at these institutions.
                                                                                                                     that faculty and staff who express support for SGM students may        Actions taken to improve campus safety and a sense of belonging
                                                                                                                     face retaliation (Cruz, 2015; Getz & Kirkley, 2006). These actions     for SGM students only serve to strengthen these institutions.
                                                                                                                     are extremely concerning, as they assert that mere difference of       Though this task is difficult, it can be achieved through collabo-
                                                                                                                     thought can be policed in university settings, even when an indi-      ration between diverse stakeholders (e.g., accreditors, administra-
                                                                                                                     vidual has not violated any behavioral standards. These also imply     tors, faculty, students, and staff). Important steps include prohib-
                                                                                                                     that faculty, staff, and students must maintain static views on        iting discipline linked to SGM identities, adding sexual orientation
                                                                                                                     rapidly changing social issues, an unreasonable expectation, espe-     and gender identity to antiharassment/violence policies, improving
                                                                                                                     cially in education. Our concerns appear to be consistent with         transparency, creating SGM-related resources, improving SGM
                                                                                                                     accreditation language. For example, APA’s standards of accred-        competence in medical and psychological services, protecting ac-
                                                                                                                     itation (2016) state that “regardless of a program’s setting, the      ademic freedom, and allowing SGM students to form important
                                                                                                                     program may not constrain academic freedom [. . .]” (p. 8). We         social support networks.




                                                                                                                           EXHIBIT F                                                                                                                   6
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                                                                                                                            EXHIBIT F                                                                                                                    8
